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                                                                                                                                              E x hi bit D

A O 4 4 0 ( R e v . 0 6/ 1 2) S u m m o n s i n a Ci vil A cti o n



                                                        U N I T E D S T A T E S DI S T RI C T C O U R T
                                                                                          f or t h e



                                                                                              )
                                                                                              )
                                                                                              )
                                                                                              )
                                           Pl ai ntiff( s)                                    )
                                                 V.                                           )
                                                                                              )        Ci vil A cti o n N o . /.,.'   2. J- c, v ... / Of J,. Yf(i.- e >f:- &
                                                                                              )
                                                                                              )

 w ~ v d ~ n l- 4z ~I ?l + e v .r_"t O _kj _
                                          D ef e n d a nt( s)
                                                                                              )
                                                                                              )
                                                                                              )

                                                                          S U M M O N S I N A CI VI L A C TI O N
 T o : ( D ef e n d a nt 's n a m e a n d a d d r e s s)
                   h J A-f Z Ot r u   f/ q z e,,/                                H ; ~ S o Vl
                   I I I 3 o !fo::r d . £L/
                  / U O Y + o Y) , / < 5 6 . 7{, Sl/ - 0 5' 1/ ~
                   c v v Yl I..,, : A. J o vl o V J,
                 A l a w s uit h a s b e e n fil e d a g ai n st y o u.

             Wit hi n 2 1 d a y s aft er s er vi c e of t hi s s u m m o n s o n y o u ( n ot c o u nti n g t h e d a y y o u r e c ei v e d it ) - or 6 0 d a y s if y o u
 ar e t h e U nit e d St at e s or a U nit e d St at e s a g e n c y, or a n offi c er or e m pl o y e e of t h e U nit e d St at e s d e s cri b e d i n F e d. R. Ci v .
 P. 1 2 ( a )(2) or ( 3) - y o u m u st s er v e o n t h e pl ai ntiff a n a n s w er t o t h e att a c h e d c o m pl ai nt or a m oti o n u n d er R ul e 1 2 of
 t h e Fe d er al R ul e s of Ci vil Pr o c e d ur e. T h e a n s w er or m oti o n m u st b e s er v e d o n t h e pl ai ntiff or pl ai ntiff' s att or n e y ,
 w h o s e n a m e a n d a d dr e s s ar e:                      {; o / f < o bo, v + C r . q-f }....f-
                                                                o', O'/    JV   Jf
                                                                                 O A 1<                                            C ov vi l-7 .:! ?rvk - 1
                                                          5/ o c /efr; n )/ < 5 b 7 6 6 7
             If y o u f ail t o r es p o n d, j u d g m e nt b y d ef a ult will b e e nt er e d a g ai n st y o u f or t h e r eli ef d e m a n d e d i n t h e c o m pl ai nt.
  Y o u al s o m u st fil e y o ur a n s w er or m oti o n wit h t h e c o urt .



                                                                                                            CL E R K O F C O URT



                                                                                                                          Si g n a t 1 1re of Cl er k or D e p u t y Cl e r k
                           Case 6:23-cv-01081-JAR-GEB Document 8-1 Filed 05/22/23 Page 2 of 2



  ~A O                 ·
         4 4 0 ( R e v 0 6/
                                1 2) S u m m o n s i n a C i vil A c tio n (l'n g c 2)
    Ci vil A cti o n N               0.

                                                                                                P R O O F O F S E R VI C E
                                       ( T hi s s e cti o n s h o ul d 1 1 0 1       b efi.l e d wit h t h e c o u rt u nl e s s r e q ui r e d b y F e d. R. Ci v. P. 4 ( L))

                    T his s u m m o ns f or                 ( n a m e of in di v i d ual a n d title, ifa n y)   _\-\a.-z e   L e e _ ~ iw C A , ~ } _ _ _ _ _
  w as r e c ei ve d b y m e o n                      ( dat e)     / V\o- ,r    t c) <lr\           :2?           ·
                 o      I p ers o n all y s er v e d t h e s u m m o n s o n t h e i n di vi d u al at ( pl a c e)
                                                                                                                               o n ( d at e)                                               ; or
              - - - - -- - - -- -- - - - - - - - - - - -                                                                                         - - -- - - - --
                      I l eft t h e s u m m o n s at t h e i n di vi d u al' s r e si d e n c e or us u al pl a c e of a b o d e wit h                             ( n a m e) . ~   {' &.\I\ C e, \\ ·,I\ 7
           (__ _O,., .('.' _ft-'u ~i_,y~lb' t4~·-c,-_~_
                                      0
                                                          __,)_ _ _ _ _ _ _ _ _ , a p er s o n                          of s uit a bl e a g e a n d di s cr eti o n w h o r esi d es t h er e,
               o n ( d at e)                                                    , a n d m ail e d a c o p y t o t h e i n di vi d u al' s l a st k n o w n a d dr e s s; or
                                     --------

               0 I s er v e d t h e s u m m o n s o n                      ( n a m e of i n di vi d u al)                                                                                                  , w h o is
                                                                                                                      ------------------
                 d e si g n at e d b y l a w t o a c c e pt s er vi c e of pr o c ess o n b e h alf of ( n a m e of o r g a ni z ati o n)
                                                                                                                              o n ( d at e)                                            ;   or
              - - - - - - - - - - - - - -- -- - - -- - - -                                                                                      -- - - - - - - -

                0 I r et ur n e d t h e s u m m o n s u n e x e c ut e d b e c a us e                                                                                                                          ; or
                                                                                                                 ---------------------
                0      Ot h er (s p e cif y):




                M y f e es ar e $                                               f or tr a v el a n d $                             f or s er vi c es, f or a t ot al of $                         0. 0 0


                I d e cl ar e u n d er p e n alt y of p erj ur y t h at t his i nf or m ati o n is tr u e.


D at e :        5'- d -J ) -
                                                                                                                                          S er v er 's si g n at ur e


                                                                                                                               1~f n L-, c,.c >L:
                                                                                                                                       P ri nt e d n a m e a n d titl e
                                                                                                                                                                          4K




                                                                                                                                              S e r v er 's a d d r ess


A d di ti on a l i nf or m ati o n re g a r di n g att e m pt e d s er vi c e, et c:
